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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA           :       Hon. Kevin McNulty
                                   :
                v.                 :       Criminal No. 21-191
                                   :
DAVID KUSHNER                      :       SCHEDULING ORDER


      This matter having come before the Court for arraignment; and the

United States being represented by Rachael A. Honig, Acting United States

Attorney for the District of New Jersey (by Alexandra Tsakopoulos Saker,

Assistant U.S. Attorney, appearing); and the Defendant being represented

by Jeffrey Dirmann, Esq. and Frank Agostino, Esq.; and the parties having

conferred prior to arraignment and having determined that this matter

may be treated as a criminal case that does not require extensive discovery

within the meaning of paragraph 3 of this Court’s Standing Order for

Criminal Trial Scheduling and Discovery; and the parties having agreed on

a schedule for the exchange of discovery and the filing and argument of

pretrial motions; and the Court having accepted such schedule, and for

good cause shown,

      It is on this 1st day of April, 2021, ORDERED that:

      1. The Government shall provide all discovery required by Federal

Rule of Criminal Procedure 16(a)(1) on or before July 1, 2021.

      2. The Government shall provide exculpatory evidence, within the

meaning of Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, on or


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before July 1, 2021.     Exculpatory evidence that becomes known to the

Government after that date shall be disclosed reasonably promptly after

becoming known to the Government.

      3. The Defendant shall provide all discovery required by Federal Rule

of Criminal Procedure 16(b)(1) on or before July 29, 2021.

      4.    The Defendant shall provide any and all notices required by

Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3 on or before July

29, 2021.

      5. The following shall be the schedule for pretrial motions in this

matter:

           a) The Defendant shall file any and all pretrial motions, pursuant

to Federal Rules of Criminal Procedure 12(b) and 41(h), in the manner set

forth in L. Civ. R. 7.1, on or before August 13, 2021;

           b) The Government shall file any response to the Defendant’s

pretrial motions on or before August 27, 2021;

           c) The Defendant shall file any reply on or before September 10
2021; and
           d) Oral argument on pretrial motions shall be held on a date to
be set; and
           e) Pursuant to paragraphs 17 to 21 of the Court’s Standing Order

No 15-2, the Court shall, in consultation with the parties, schedule a final

pretrial conference that will be held no sooner than two (2) weeks following




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the disposition of pretrial motions. If appropriate, a trial date will be set

at this final pretrial conference.



                                         /s/ Kevin McNulty
                                      _________________________________
                                      Honorable Kevin McNulty
                                      United States District Judge




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